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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3173
                                     )
           v.                        )
                                     )
JOHN S. CISNEROS,                    )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Plaintiff’s motion, filing no. 28, is granted and filing no.

29 shall be maintained as a sealed document.


DATED this 16th day of January, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
